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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION
                                  www.flsb.uscourts.gov



In Re:


MIRROR TRADING INTERNATIONAL                                 Case No.: 23−11046−PDR
(PTY) LTD,
                                                             Chapter 15
      Debtor in a Foreign Proceeding
__________________________________/

              MOTION TO APPROVE COMPROMISE OF CONTROVERSY

         Chavonnes Badenhorst St Clair Cooper (the “Liquidator”) as one of the duly appointed

liquidators of the bankruptcy estate of Mirror Trading International (PTY) Ltd (the “Foreign

Representative” or “Plaintiff”) files this Motion (“Motion”) to Approve Compromise of

Controversy between the Foreign Representative and BRIAN NERNEY, the defendant in Adv.

Proc. No. 24-01183-PDR (“Defendant”) under FRBP 9019 and LBR 9019-1 and other applicable

rules. In support of the Motion, the Foreign Representative states as follows:

                                PRELIMINARY STATEMENT

         The Foreign Representative sued Defendant in an adversary proceeding seeking return of

dispositions made by Mirror Trading International (PTY) Ltd. (“MTI” or “Foreign Debtor”)

under the laws of South Africa. By this Motion, Foreign Representative seeks approval of a

settlement with Defendant. The Court should approve the proposed settlement agreement under

FRBP 9019 as it is well above the lowest point in the range of reasonableness. The settlement

amount is a function of various factors but most strongly attributed to the difficulty of collecting




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a favorable judgment if the adversary proceeding were litigated and the potential costs of the

litigation itself.

I.      PROCEDURAL HISTORY

        1.       On February 9, 2023, the Foreign Representative commenced this Chapter 15

bankruptcy case. DE 1. On March 18, 2023, this Court granted recognition of the South African

bankruptcy proceedings as a foreign main proceeding. DE 11.

II.     THE ADVERSARY PROCEEDING & SETTLEMENT DISCUSSIONS

        2.       Along with close to 150 other related cases, the Foreign Representative filed the

Adversary Proceeding against Defendant seeking return of avoidable “Dispositions” under South

African law.

        3.       The initial complaint alleged Dispositions of approximately 3.339746 in bitcoin;

however, after subsequent investigation prompted by discussions with Defendant’s counsel, the

Foreign Representative agreed that the amount actually transferred was 0.6 in bitcoin (“BTC

Exposure”). Moreover, Defendant, through counsel, asserted that not all of the BTC Exposure is

connected to Defendant because some or all of the BTC Exposure is connected to the

Defendant’s father, Jim Nerney.

        4.       Accordingly, counsel for the Foreign Representative and the Defendant have

engaged in good faith settlement negotiations informed by the merits of their respective

positions. These negotiations were also guided by the Foreign Representative’s consistent efforts

to resolve matters without resorting to protracted litigation, as reflected by the systematic,

across-the-board settlement offers extended to similarly situated parties—including the most

recent offer accepted by the Defendant—which ultimately led to a resolution of the Adversary

Proceeding in its entirety.


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III.   SUMMARY OF SETTLEMENT AGREEMENT

       5.      The Settlement Agreement is attached hereto as Exhibit “A” and should be

consulted for a full understanding of its terms. The Settlement Agreement in summary provides:

            a. Settlement Payment.          As consideration of the settlement of the claims,

Defendant will pay the sum of $28,200 in twelve (12) equal monthly installments (the

“Settlement Amount”).

            b. Guarantee. Defendant’s father, Jim Nerney (“Guarantor”) guarantees the full and

tinnily performance by Defendant of his obligations under the Settlement Agreement, including

payment of the Settlement Amount and full payment of any judgment rendered against

Defendant in the event of noncompliance.

            c. Waiver of Further Claims Against Foreign Debtor. The Defendant waives any

further claim against the Foreign Debtor.

            d. Settlement Conditioned on Bankruptcy Court Approval.            The Settlement

Agreement is contingent upon this Court’s approval of the same.

            e. Consent Judgment. The Foreign Representative shall be entitled to entry of a

judgment against the Defendant in the event the Defendant fails to make any periodic payment

under the Settlement Agreement.

            f. Dismissal of Adversary Proceeding Upon Approval and Payment. The

Adversary Proceeding will be dismissed once this Court approves the Settlement Agreement and

the Settlement Amount is paid in full.

IV.    THE SETTLEMENT AGREEMENT SHOULD BE APPROVED

       A.      Applicable Legal Standard




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       6.       “It is generally recognized that the law favors compromise of disputes over

litigation for litigation sake.” In re Bicoastal Corp., 164 B.R. 1009, 1016 (Bankr. M.D. Fla.

1993); see Kenny v. Critical Interventions Svs., Inc. (In re Kenny), No. 21-12295, 2022 WL

2282843, *3 (11th Cir. June 23, 2022) (“We have recognized a strong public policy in favor of

settlements.”). Bankruptcy Rule 9019(a) grants the bankruptcy court discretion to approve

settlements and compromises. Regions Bank v. Herendeen (In re Able Body Temporary Servs.,

Inc.), 2015 WL 791281 (M.D. Fla. Feb. 25, 2015); GMGRSST, Ltd. v. Menotte (In re Air Safety

Int’l, L.C.), 336 B.R. 843, 852 (S.D. Fla. 2005). Specifically, Fed. R. Bank. P. 9019 provides the

following:

       (a) Compromise. On motion by the trustee and after notice and a hearing, the
       court may approve a compromise or settlement. Notice shall be given to creditors,
       the United States trustee, the debtor, and indenture trustees as provided in Rule
       2002 and to any other entity as the court may direct.
Fed. R. Bankr. P. 9019. Accordingly, it is within the scope of this Court’s authority to grant the

Motion and approve the Settlement Agreement.

       7.       To approve a settlement, the Court “must determine that the settlement does not

‘fall below the lowest point in the range of reasonableness.’” In re Kenny, 2022 WL 2282843, at

*3 (quoting Martin v. Pathiakos (In re Martin), 490 F.3d 1272, 1275 (11th Cir. 2007)); see In re

Able Body, 2015 WL 791281, at *2; see also In re Air Safety Int’l, 336 B.R. at 852 (stating that

the bankruptcy court should “determine whether the proposed settlement is fair and equitable”).

To determine the reasonableness of a settlement, courts in the Eleventh Circuit evaluate the

settlement under the factors set forth in Wallis v. Justice Oaks II, Ltd., 898 F.2d 1544, 1549 (11th

Cir. 1990), which consider the following:

             a. The probability of success in litigation;

             b. The difficulties, if any, to be encountered in the matter of collection;


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            c. The complexity of the litigation involved, and the expense, inconvenience and

               delay necessarily attending it; and

            d. The paramount interest of the creditors and a proper deference to their reasonable

               views in the premises.

Justice Oaks, 898 F.2d at 1549; see also In re Kenny, 2022 WL 228284, at *3 (applying factors

set forth in Justice Oaks to analyze settlement under Fed. R. Bankr. P. 9019); Romagosa v.

Thomas (In re Van Diepen, P.A.), 236 Fed. Appx. 498, 504 (11th Cir. 2007) (same).

       8.      In evaluating the Justice Oaks factors, the “bankruptcy court is not required to

rule on the merits, and must look only to the probabilities.” In re Van Diepen, 236 Fed. Appx. at

504. Indeed, “[i]n evaluating a settlement proposal, a bankruptcy court need not find facts, draw

legal conclusions, or otherwise adjudicate the merits of the underlying litigation.” In re Kenny,

2022 WL 2282843, at *5 (citing Justice Oaks, 898 F.2d at 1549). “While the Court does not

have to conduct a ‘mini-trial’ on the merits of the underlying litigation, ‘approval of a

compromise under Bankruptcy Rule 9019 requires more than just a ‘rubber-stamping’ of an

agreement.’” In re Ortiz, 619 B.R. 273, 275 (Bankr. M.D. Fla. 2020); see also In re Soderstrom,

477 B.R. 249, 252 (Bankr. M.D. Fla. 2012). “The approval of a compromise is within the sound

discretion of the bankruptcy judge.” In re Van Diepen, 236 Fed. Appx. at 502.

       9.      “Importantly, ‘the decision of a trustee in Bankruptcy to enter a settlement is

made within his or her business judgment.’” United States v. Hartog, 597 B.R. 673, 681 (S.D.

Fla. 2019) (quoting In re Simmonds, 2010 WL 2976769, at *3 (S.D. Fla. July 20, 2010)); see also

In re Morgan, 2011 WL 13185742, *4 (S.D. Fla. Feb. 15, 2011) (same). This business judgment

should be respected if it is supported by “some rational business purpose.” In re Ortiz, 619 B.R.

at 275 (citing various cases).


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       B.        The Settlement Agreement Satisfies the Justice Oaks Factors

       10.       The Settlement Agreement satisfies the Justice Oaks factors.

               i.   The probability of success in the litigation

       11.       The Foreign Representative believes if the Adversary Proceeding were litigated

that he would prevail in obtaining a monetary judgment.

             ii.    Difficulties in collection

       12.       This second factor, the potential difficulties involving collection, favors approval

of the Settlement Agreement. The settlement offer was made at this stage to avoid potential

complications associated with collecting on a judgment, which would likely be protracted and

uncertain. In contrast, the proposed settlement allows for a more immediate and efficient

distribution to creditors, thereby maximizing recovery while minimizing delay and expense. See

In re Kenny, 2022 WL 2282843, at *4 (affirming bankruptcy court’s reasoning that this factor is

satisfied when collection would take longer than a “quick payout to creditors” that could be done

under the proposed settlement).

             iii.   Complexity, expense, inconvenience and delay of litigation

       13.       The third factor evaluates the complexity of the litigation involved and the

attendant expense, inconvenience, and delay also favors the approval of the Settlement

Agreement. This Court is aware of the complexity of applying non-US law in the Adversary

Proceeding and the procedural and substantive issues already identified. The expense of

litigating the Adversary Proceeding is not insubstantial and conclusion of such litigation would

be months away which could lead to further financial distress on the Defendant making

collection of any judgment even less certain.




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              iv.   Paramount interest of creditors

        14.     The fourth factor, the paramount interest of the creditors, favors the Settlement

Agreement. Under South African bankruptcy law, the Foreign Representative is charged with

making settlement decisions with the best interests of creditors in mind.           South African

bankruptcy law vests such settlement authority in the Foreign Representative such that no further

court approval is needed to resolve particular claims.

        15.     Based on the analysis of the above factors, the Foreign Representative submits

that the Settlement Agreement falls well above the lowest point in the range of reasonableness

and should be approved.

                                           CONCLUSION

        WHEREFORE, the Foreign Representative respectfully requests that the Court approve

the Settlement Agreement, enter an Order substantially in the form of Exhibit “B” attached, and

grant any other relief that is just and proper.

        Dated: June 4, 2025                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via

electronic filing using the CM/ECF system with the Clerk of the Court which sent e-mail

notification of such filing to all CM/ECF participants in this.

                                                      /s/ Maria Jose Cortesi
                                                      Maria Jose Cortesi



                                         SERVICE LIST


Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

   •   Joel M. Aresty aresty@mac.com
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                                          EXHIBIT “A”
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                                          EXHIBIT “B”

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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION
                                  www.flsb.uscourts.gov



In Re:

MIRROR TRADING INTERNATIONAL                               Case No.: 23−11046−PDR
(PTY) LTD,
                                                           Chapter 15
      Debtor in a Foreign Proceeding
__________________________________/


                       ORDER GRANTING MOTION TO APPROVE
                          COMPROMISE OF CONTROVERSY

         This matter came on for hearing on _______ at ____ (the “Hearing”), upon the Motion to

Approve Compromise of Controversy (the “Motion”) [D.E. XX], filed by the Foreign

Representative seeking the approval of the settlement agreement attached to the Motion between

the Foreign Representative and Brian Nerney, the defendant (“Defendant”) in
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Adversary Proceeding No: 24-01183-PDR (“Adversary Proceeding”).1 This Court has reviewed

the Motion, the record, arguments of counsel, and the Foreign Representative’s representations.

Accordingly, the Court FINDS and CONCLUDES, that:

       A.      Proper, timely, adequate and sufficient notice of the Motion was given, and such

notice was reasonable and appropriate under the circumstances and comports in all regards with

the requirements of due process, the Bankruptcy Rules and applicable law.

       B.      The Court has jurisdiction over the Motion and to enter this Order under 28 U.S.C.

§§ 157, 1334 and FRBP 9019.

       C.      The Court finds that the Settlement Agreement does not “fall below the lowest point

in the range of reasonableness.” Kenny v. Critical Interventions Svs., Inc. (In re Kenny), No. 21-

12295, 2022 WL 2282843, at *3 (11th Cir. June 23, 2022) (quoting Martin v. Pathiakos (In re

Martin), 490 F.3d 1272, 1275 (11th Cir. 2007)).

       Accordingly, it is ORDERED that:

       1.      The Settlement Motion is GRANTED as set forth herein.

       2.      The Court approves the Settlement Agreement under FRBP 9019.

       3.      To the extent any of the findings of fact set forth above are determined to be

conclusions of law, then such findings are hereby confirmed as conclusions of law.

       4.      The Foreign Representative is authorized to implement and fully perform the

Settlement Agreement and to take any and all actions reasonably necessary or appropriate to

consummate the Settlement Agreement.




   1
      Unless otherwise indicated, capitalized terms shall have the meaning ascribed to them in
the Motion.
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        5.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order and the Settlement Agreement.

                                                 ###

Submitted by:

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(Attorney Cortesi is directed to serve a copy of this order upon all interested parties who do not
receive service by CM/ECF and file a proof of service within three days of entry of this order)




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